                                                    Notice Recipients
District/Off: 0971−3                     User: admin                            Date Created: 6/9/2023
Case: 19−30088                           Form ID: TRANSC                        Total: 8


Recipients of Notice of Electronic Filing:
aty         Jeffrey Ritholtz        jritholtz@rksllp.com
aty         Michael S. Etkin          metkin@lowenstein.com
                                                                                                                 TOTAL: 2

Recipients submitted to the Claims Agent (Kroll Restructuring Administration, LLC):
aty         Irwin B. Schwartz       BLA Schwartz, P.C.       515 S. Flower St., 18th Fl.     Los Angeles, CA 90071
aty         Irwin B. Schwartz       BLA Schwartz, PC        515 S. Flower St., #18th Fl.     Los Angeles, CA 90071
aty         Richard W. Slack       Weil Gotshal and Manges, LLP        767 Fifth Ave.       New York, NY 10153−0119
aty         Susan F. DiCicco       Morgan, Lewis & Bockius LLP         101 Park Avenue        New York, NY 10178
            JONATHAN DOOLITTLE, ESQ.              Pillsbury Winthrop Shaw Pittman LLP         Four Embarcadero Center, 22nd
            Floor       San Francisco, CA 94111
            SUSAN F. DICICCO, ESQ.           Morgan, Lewis & Bockius LLP          1400 Page Mill Road      Palo Alto, CA
            94304
                                                                                                                 TOTAL: 6




     Case: 19-30088           Doc# 13830-3           Filed: 06/09/23        Entered: 06/09/23 05:26:17              Page 1
                                                             of 1
